    Case 19-23257-CMB                  Doc 54    Filed 08/27/20      Entered 08/27/20 12:33:03            Desc Main
 amendment cover sheet lombardo              Document
                                    IN THE UNITED        Page 1 of 7 COURT
                                                  STATES BANKRUPTCY
                                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In Re:     Lisa R. Lombardo,                                  Bankrnptcy No. 19-23257 CMB
                                       Debtor,                 Chapter 13
 In Re:     Lisa R. Lombru·do,
                                       Movant,                 Docket No.
                        v.                                     Related to Doc. No. 20
No Respondent,
                                       Respondent.

                                             AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are transmitted herewith:

                       Voluntary Petition - Specify reasonfi,r amendment:

                      Official Form 6 Schedules (Itemization of Changes Must Be Specified)
                      Summary of Schedules
                      Schedule A - Real Property
                      Schedule B - Personal Property
                      Schedule C - Property Claimed as Exempt
                      Schedule D - Creditors holding Secured Claims
                               Check one:


                                  ==
                               _ _ Creditor(s) added
                                       NO creditor(s) added
                                       Creditor(s) deleted
                      Schedule E - Creditors Holding Unsecured Priority Claims
                               Check one:
                              __       Creditor(s) added

                                  =-   NO creditor(s) added
                                       Creditor(s) deleted
                      Schedule F - Creditors Holding Unsecured Nonpriority Claims
                              Check one:


                                  ==
                              ___ Creditor(s) added
                                       NO creditor(s) added
                                       Creditor(s) deleted
                      Schedule G - Executory Contracts and Unexpired Leases
                              Check one:
                                       Creditor(s) added
                              --       NO creditor(s) added
                              - - - Creditor(s) deleted
                      Schedule H - Codebtors
X                     Schedule I - Current Income oflndividual Debtor(s)
x_~                   Schedule J - Current Expenditures oflndividual Debtor(s)
                      Statement of Financial Affairs
                      Chapter 7 Individual Debtor's Statement of Intention
                      Chapter 11 List of Equity Security Holders
                      Chapter 11 List of Creditors Holding 20 Largest Unsecured Claims
                      Disclosure of Compensation of Attorney for Debtor
                      Other:
PAWB Local Form 6 (07/13)                                      Page I of2
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                 NOTICE OF AMENDMENT(S)      Page 2 ofPARTIES
                                        TO AFFECTED    7
Pursuant to Fed.R.Bankr.P. I 009(a) and Local Bankruptcy Rule I 009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the following:

Office of the U.S. Trustee
Suite 970
100 I Liberty A venue
Pittsburgh PA 15222

Ronda J. Winnecour, Esq.
Ch. 13 Standing Trustee, W.D.Pa.
Suite 3250, USX Tower
600 Grant Street
Pittsburgh, PA 15219


Date: August 27, 2020                     /s/ Gary W. Short
                                          Attorney for Debtor(s) [or pro se Debtor( s)]
                                          Gaty W. Short
                                          (Typed Name)
                                          212 Windgap Road, Pittsburgh, PA 15237
                                          (Address)
                                          412-654-0 I 00
                                          (Phone No.)
                                          326794 Pennsylvat1ia
                                          List Bar I.D. and State of Admission


Note: An amended matrix of creditors added by the amendment must be submitted on disk with the
atnendment. Attorneys filing electronically on the Case Management/Electronic Case Filing System
may add creditors to the case electronically.


PA WB Local Form 6 (07 /13)                                                                               Page 2 of2
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 Fill in this information to identi     our case:

 Debtor 1                       Lisa R. Lombardo

 Debtor 2
 (Spouse, If filing)

 United States Bankruptcy Court for the:        WESTERN DISTRICT OF PENNSYLVANIA

 Case number               19-23257                                                                     Check if this is:
 (If known)
                                                                                                        •   An amended filing
                                                                                                        D A supplement showing postpetitlon chapter
                                                                                                            13 income as of the following date:

 Official Form 1061                                                                                         MM/DD/YYYY
 Schedule I: Your Income                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known}. Answer every question.

l:lffll                Describe Employment

 1.     Fill in your employment
        information.
        If you have more than one job,                              • Employed                                 • Employed
        attach a separate page with            Employment status
        information about additional                                D Not employed                             D Not employed
        employers.
                                               Occupation           Director                                  College teacher
        Include parHime, seasonal, or
        self-employed work.                                                                                   Westmoreland County Community
                                               Employer's name      Southwestern Behavior Care                College
        Occupation may include student
        or homemaker, if it applies.           Employer's address
                                                                    300 Chamber Plaza
                                                                    Charleroi, PA 15022                       Youngwood, PA 15697
                                                                                     ·-------

                                               How long employed there?        30 years                                 4 months

l:@f                   Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




       List monthly gross wages, salary, and commissions (before all payroll
 2.    deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         5,278.00            $         2,134.00

 3.    Estimate and list monthly overtime pay.                                              3.   +$              0.00           ,$            0.00

 4.    Calculate gross Income. Add line 2 + line 3.                                         4.          5,278.00-~I                 $   2,134.00
                                                                                                 I $
                                                                                                                            I




Official Form 1061                                                        Schedule I: Your Income                                                      page 1
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             Lisa R. Lombardo                                                                                  Case number (if known)   19-23257
  Debtor 1
                                                                                                                                        ~==~-----~

       Copy line 4 here_.__                                                                             4.

 5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                              5a.        $        998.00   $              225.00
      5b.    Mandatory contributions for retirement plans                                               Sb.        $        475.00   $                0.00
      Sc.    Voluntary contributions for retirement plans                                               Sc.        $          0.00   $                0.00
      5d.    Required repayments of retirement fund loans                                               5d.        $          0.00   $                0.00
      Se.    Insurance                                                                                  Se.        $        110.00   $                0.00
      51.    Domestic support obligations                                                               Sf.        $          0.00   $                0.00
      5g.    Union dues                                                                                 5g.        $          0.00   $                0.00
      Sh.    Other deductions. Specify:                                                                 Sh.+       $          0.00 + $                0.00
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                    6.     $          1,583.00      $           225.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                               7.     $          3,695.00      $        1,909.00
 8.   List all other income regularly received:
      Ba.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net Income.                                                                        Ba.        $           0.00     $                0.00
      Sb.    Interest and dividends                                                                     Bb.        $           0.00     $                0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                        Be.        $           0.00     $            0.00
      8d.    Unemployment compensation                                                                  Bd.        $           0.00     $            0.00
      Be.   Social Security                                                                             Be.        $           0.00     $        1,019.00
      Bf.   Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                    Bf.  $                 0.00   $                  0.00
      8g.   Pension or retirement income                                                                Bg. $                  0.00   $                  0.00
      Sh. Other monthly income. Specify:                                                                Bh.+ $                 0.00 + $                  0.00

 9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                          9.
                                                                                                              1$               o.oo I 1$            1,019.00 I

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                        2,92s.oo I =1~$--6-,e-2_3._oo~I
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
     other friends or relatives.
     Do not include any amounts already included In lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _________                                                                                                        11. +$                                  0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                              ~
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                                  12.    $          6,623.00
                                                                                                                                                     Combined
                                                                                                                                                     monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     g     No.
      D       Yes. Explaln:                                                                        ·==-·========================================--~
                              c_·-_-_-_-·_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_·_·_--_-_-_-_-___




Official Form 1061                                                              Schedule I: Your Income                                                           page 2
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 Fill fn this information to 1dent1fy your casff

 Debtor 1               Lisa R. Lombardo                                                                     Check if this is:
                                                                                                             g        An amended filing
 Debtor 2                                                                                                    D        A supplement showing postpetition chapter
 (Spouse, lfflllng)                                                                                                   13 expenses as of the following date:

 United States Bankruptcy Court for the:    WESTERN DISTRICT OF PENNSYLVANIA                                          MM I DD /YYYY

 Case number          19-23257
 (If known)       ---------------



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

l:Qfl         Describe Your Household
 1.    Is this a joint case?

       • No. Go to line 2.
       D Yes. Does Debtor 2 live in a separate household?
             D No
             D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2.   Do you have dependents?              • No
      Do not list Debtor 1 and             D Yes.   Fill out this information for   Dependent's relationship to          Dependent's       Does dependent
      Debtor 2.                                     each dependent....              Debtor 1 or Debtor 2                 age               live with you?
                                                                                                                        ££UL
      Do not state the                                                                                                                     DNo
      dependents names.                                                                                                                    DYes
                                                                                                                                           DNo
                                                                                                                                           DYes
                                                                                                                                           DNo
                                                                                                                                           DYes
                                                                                                                                           DNo
                                                                                                                                           DYes
 3.   Do your expenses include                    D No
      expenses of people other than
      yourself and your dependents?               • Yes

l#f         Estimate Your O~n~g~o~in~g~M,~o'-'n~th"'l~y~E~x~p~e~n~s~es~-----------
 Estimate yourexJ)enses as of your bankruptcy filing date unless you are using this fOrm-as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included it on Schedule I: Your Income
 (Official Form 1061.)

 4.   The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             1,898.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                              0.00
      4b. Property, homeowner's, or renter's insurance                                                     4b.    $                              0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.    $                            100.00
      4d. Homeowner's association or condominium dues                                                      4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                              0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                               page 1
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  Debtor 1     Lisa R. Lombardo                                                                        Case number (if known)      19-23257

  6.   Utilities:
       6a.     Electrlc!ty, heat, natural gas                                                6a. $                                               400.00
       6b.     Water, sewer, garbage collection                                              6b. $                                                72.00
       6c.     Telephone, cell phone, Internet, satellite, and cable services                6c. $                                               675.00
       6d.     other. Specify:                                                               6d. $                                                 0.00
  7. Food and housekeeping supplies                                                           7. $                                             1 035.00
  8. Childcare and children's education costs                                                 8. $                                                 0.00
  9. Clothing, laundry, and dry cleaning                                                      9. $                                               240.00
  10. Personal care products and services                                                    10. $                                               100.00
 11. Medical and dental expenses                                                             11. $                                               400.00
 12. Transportation. Include gas, maintenance, bus or train fare.
      Do not Include car payments.                                                           12. $                                               650.00
 13. Entertainment, clubs, recreation, newspapers 1 magazines, and books                     13. $                                               200.00
 14. Charitable contributions and religious donations                                        14. $                                                 0.00
 15. Insurance.
      Do not Include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  0.00
      15b. Health insurance                                                                15b. $                                                  0.00
      15c. Vehicle insurance                                                               15c. $                                                184.00
      15d. other insurance. Specify:                                                       15d. $                                                  0.00
                                                                      ~~~~-~-=---
 16. Taxes. Do not include taxes deducted from your pay or included In lines 4 or 20.
      Specify:                                                                              16. $                                                   0.00
                  ~~~---~-----------------
 17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                     17b. $                                                   0.00
      17c. other. Specify: Husband charge care payments                                    17c. $                                                 75.00
      17d. Other. Specify: Husband anticipated auto payment for debtor/wife               17d. $                                                 400.00
 18. Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Offlclal Form 1061).       18. $                                                   0.00
 19. Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                              19.
 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                    20a. $                                                   0.00
      20b. Real estate taxes                                                              20b. $                                                   0.00
      20c. Property, homeowner's, or renter's insurance                                   20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                       20d. $                                                   0.00
      20e. Homeowner's association or condominium dues                                    20e. $                                                   0.00
 21. Other: Specify:         Gifts                                                          21. +$                                               200.00
                                  -----------------------
      Miscellaneous                                                                              +$                                              200.00
      Storgage unit                                                                              +$                                               80.00
 22. Calculate your monthly expenses
     22a. Add lines 4 through 21.                                                                                    $      6,909.00
                                                                                                                     $------~--
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                               $
                                                                                                                         - - - - - - - =6,909.00
                                                                                                                                         ~~-
 23. Calculate your monthly net income.
     23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a. $                              6,623.00
     23b. Copy your monthly expenses from line 22c above.                                                  23b. -$                             6,909.00
                                                                                                                  .---:==========
       23c.   Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                       23c.   [$ _____                    -.2;~.oo]
 24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year ordo you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
       • No.
       D Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                    page 2
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  Fill in this information to identify your case:

  Debtor 1                  Lisa R. Lombardo
                            First Name                      Middle Name             last Name
  Debtor 2
  (Spouse If, filing)       First Name                      Middle Name             Last Name

  United States Bankruptcy Court for the:             WESTERN DISTRICT OF PENNSYLVANIA

  Case number _1c,9c:·=.23
                        002,::5,c7c___ _ _ _ _ _ _ __
  (If known)                                                                                                                       •   Check if this is an
                                                                                                                                       amended filing



 Official Form 106Dec                                                            Anu..~dd
 Declaration About an Individual Debtor's,.Schedules .I. arul J'                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both.18 U.S.C. §§ 152, 1341, 1519, and 3571.



- S i g n Below

         Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         •      No

         D      Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer's Notice,
                                                                                                               - Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summarytn
                                                                       schedules filed with this declaration and
       that they are true and correct.

        X /s/ Lisa R. Lombardo                                                     X                               _______________
          Lisa R. Lombardo                                                             Signature of Debtor 2
               Signature of Debtor 1
                                1..1
               Date     August 1111, 2Q.20                                             Date




Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
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